     Case 4:19-cv-00162-MW-MAF Document 135 Filed 08/31/22 Page 1 of 2




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION


ELIZABETH FREDERICK,

      Plaintiff,

v.                                       Case No. 4:19-cv-162-MW-MAF

WALTER McNEIL, et ano.,

      Defendants.


             PLAINTIFF’S NOTICE OF SETTLEMENT
                 AS TO SHERIFF McNEIL ONLY

     Pursuant to Local Rule 16.2(A)(1), Plaintiff Elizabeth Frederick

hereby gives notice that all claims against Defendant Walter McNeil,

Sheriff of Leon County, Florida, have been settled this afternoon.

Counsel for Plaintiff and Sheriff McNeil anticipate filing a joint

stipulation of dismissal of Sheriff McNeil with prejudice and with each

party to bear their own fees and costs in the near future after the

parties have completed their settlement papers and the terms of

settlement. This notice is submitted so that the Court might avoid

further judicial labor associated with Plaintiff’s claims against Sheriff

McNeil.
    Case 4:19-cv-00162-MW-MAF Document 135 Filed 08/31/22 Page 2 of 2




Dated: August 31, 2022.

                                SLATER LEGAL PLLC

                                By: /s/ James M. Slater
                                     James M. Slater
                                     Florida Bar No. 111779
                                     113 S. Monroe Street
                                     Tallahassee, Florida 32301
                                     james@slater.legal
                                     Tel. (305) 523-9023

                                              -and-

                                LAW OFFICE OF JAMES COOK

                                      James V. Cook
                                      Florida Bar No. 0966843
                                      314 W. Jefferson Street
                                      Tallahassee, Florida 32301
                                      cookjv@gmail.com
                                      Tel. (850) 222-8080
                                      Fax (850) 561-0836

                                      Attorneys for Plaintiff


                     CERTIFICATE OF SERVICE

     I hereby certify that on August 31, 2022, I electronically filed the

foregoing document with the Clerk by using the CM/ECF system, which

will serve a copy on all counsel of record.


                                         By: /s/ James M. Slater
                                              James M. Slater


                                     2
